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 5
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 6
 7
                                     UNITED STATES DISTRICT COURT
 8                                  NORTHERN DISTRICT OF CALIFORNIA
                                          OAKLAND DIVISION
 9
       CRYSTAL CHAPMAN, individually and                   Case No. 3:22-cv-2770
10
       on behalf of all others similarly situated,
11
                                                           COMPLAINT FOR INJUNCTION
12                              Plaintiff,                 AND DAMAGES
                  v.
13
                                                           Class Action
14     SUNRUN INC.
15                                                         JURY TRIAL DEMAND
16                              Defendant.

17
18
             Plaintiff Crystal Chapman (“Mrs. Chapman”), by her undersigned counsel, for this first
19
     amended class action complaint against Defendant Sunrun Inc. (“Sunrun”) and their present,
20
     former and future direct and indirect parent companies, subsidiaries, affiliates, agents and related
21
     entities, allege as follows:
22
23
                                             I.   INTRODUCTION
24
             1.        Nature of Action: As the Supreme Court has explained, “Americans passionately
25
26   disagree about many things. But they are largely united in their disdain for robocalls. The

27   Federal Government receives a staggering number of complaints about robocalls—3.7 million
28
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     complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly
 1
 2   30 years, the people’s representatives in Congress have been fighting back. As relevant here, the

 3   Telephone Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls
 4
     to cell phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335,
 5
     2343 (2020).
 6
            2.       This case involves a campaign by Sunrun to market its solar services through the
 7
 8   use of pre-recorded telemarketing calls in plain violation of the Telephone Consumer Protection

 9   Act, 47 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”).
10
            3.       Moreover, Sunrun made telemarketing calls that, like Mrs. Chapman’s, were
11
     registered on that National Do Not Call Registry.
12
            4.       Sunrun has been under the TCPA time and again. E.g., Chapman, et. al. v. Sunrun
13
14   Inc., Civil Action No. 19-cv-1608 (N.D. Cal.); Notice Removal, Saunders v. Sunrun, Inc., Case

15   No. 1:19-cv-3127 (N.D. Ill. May 9, 2019), ECF No. 1; Compl., Ewing v. Encore Solar, LLC,
16
     Case No. 3:18-cv-02247-CAB-MDD (S.D. Cal. Sept. 27, 2018), ECF No. 1; Notice Removal, Va
17
     v. Sunrun Inc., Case No. 1:18-cv-00856-JHR-KBM (D.N.M. Sept. 12, 2018), ECF No. 1; Notice
18
     Removal, Barker v. Sunrun Inc., Case No. 1:18-cv-00855-KK-LF (D.N.M. Sept. 12, 2018), ECF
19
20   No. 1; Compl., Taylor v. Sunrun Inc., Case No. 5:18-cv-01207-JGB-SHK (C.D. Cal. June 5,

21   2018), ECF No. 1; Compl., Knapp v. Sunrun, Inc., Case No. 2:18-cv-00509-MCE-AC (E.D. Cal.
22
     Mar. 8. 2018), ECF No. 1; Compl., Bozarth v. Sunrun, Inc., Case No. 3:16-cv-3550-EMC (N.D.
23
     Cal. June 24, 2016), ECF No. 1; Compl., Slovin v. Sunrun, Inc., Case No. 4:15-cv-05340-YGR
24
     (N.D. Cal. Nov. 20, 2015), ECF No. 1.
25
26   ///
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                                                II.   PARTIES
 1
 2          5.       Plaintiff Chapman is an individual.

 3          6.       Sunrun is a corporation.
 4
            7.       It is a Delaware corporation.
 5
            8.       Its principal place of business is 595 Market Street, 29th Floor, San Francisco,
 6
     California 94105, in this District.
 7
 8                                III.     JURISDICTION AND VENUE
 9          9.       Jurisdiction: This Court has federal-question subject matter jurisdiction over
10   Plaintiff’ TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47
11   U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). The Court has
12   supplemental jurisdiction over Plaintiff’ CIPA claims pursuant to 28 U.S.C. § 1367 because the
13   CIPA violations are so related to the TCPA violations—arising from the same telemarketing—as
14   to form part of the same case or controversy.
15          10.      Personal Jurisdiction: This Court has personal jurisdiction over Defendant
16   because: (A) they are headquartered in California; and (B) their conduct at issue was organized
17   from their California headquarters;
18          11.      Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
19   because a substantial part of the events giving rise to Plaintiff’ claims—namely, the direction of
20   the illegal telemarketing from Sunrun’s headquarters—occurred in this District.
21          12.      Intradistrict Assignment: Assignment to this Division is proper pursuant to Civil
22   Local Rule 3-2(c) because a substantial part of the events or omissions that give rise to Plaintiff’
23   claims—namely, the direction of the illegal telemarketing and illegal recording from Defendant’s
24   headquarters—occurred in San Francisco.
25    ///
26   ///
27   ///
28   ///
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 1                                             IV.     FACTS
 2   A.     The Enactment of the TCPA and its Regulations
 3          13.     Robocalls Outlawed: Enacted in 1991, the TCPA makes it unlawful “to make any
 4   call (other than a call made for emergency purposes or made with the prior express consent of
 5   the called party) using an automatic telephone dialing system or an artificial or prerecorded voice
 6   … to any telephone number assigned to a … cellular telephone service.” 47 U.S.C. § 227(b)(1).
 7   Calls made by an ATDS or with a prerecorded or artificial voice are referred to as “robocalls” by
 8   the Federal Communications Commission (“FCC”) and herein. Encouraging people to hold
 9   robocallers accountable on behalf on their fellow Americans, the TCPA provides a private cause
10   of action to persons who receive such calls. 47 U.S.C. § 227(b)(3).
11          14.     Rationale: In enacting the TCPA, Congress found: “Evidence compiled by the
12   Congress indicates that residential telephone subscribers consider automated or prerecorded
13   telephone calls, regardless of the content or the initiator of the message, to be a nuisance and an
14   invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105
15   Stat. 2394 § 2(10). Congress continued: “Banning such automated or prerecorded telephone calls
16   to the home, except when the receiving party consents to receiving the call or when such calls are
17   necessary in an emergency situation affecting the health and safety of the consumer, is the only
18   effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.
19   § 2(12).
20          15.     The TCPA’s sponsor described unwanted robocalls as “the scourge of modern
21   civilization. They wake us up in the morning; they interrupt our dinner at night; they force the
22   sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137
23   Cong. Rec. 30,821 (1991) (statement of Sen. Hollings).
24          16.     Prior Express Written Consent: The FCC has made clear that “prior express
25   written consent” is required before making telemarketing robocalls to wireless numbers.
26   Specifically, it ordered:
27
            [A] consumer’s written consent to receive telemarketing robocalls must be
28          signed and be sufficient to show that the consumer: (1) received clear and
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             conspicuous disclosure of the consequences of providing the requested
 1
             consent, i.e., that the consumer will receive future calls that deliver
 2           prerecorded messages by or on behalf of a specific seller; and (2) having
             received this information, agrees unambiguously to receive such calls at a
 3           telephone number the consumer designates. In addition, the written
             agreement must be obtained without requiring, directly or indirectly, that
 4
             the agreement be executed as a condition of purchasing any good or
 5           service.

 6
 7   In the Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of

 8   1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote omitted) (internal quotation marks

 9   omitted).

10           17.     Do Not Call Registry: Additionally, the TCPA outlaws unsolicited telemarketing

11   (robocalls or otherwise) to phone numbers on the National Do Not Call Registry. 47 U.S.C. §

12   227(c); 47 C.F.R. § 64.1200(c)(2). Encouraging people to hold telemarketers accountable on

13   behalf on their fellow Americans, the TCPA provides a private cause of action to persons who

14   receive such calls. 47 U.S.C. § 227(c)(5).

15   B.      Sunrun’s Years-Long History of Illegal Robocalls and Telemarketing

16           18.     Sunrun sells goods and services related to solar energy.

17           19.     Some of Sunrun’s marketing strategies involve using recorded messages.

18           20.     Indeed, Sunrun has previously used dialing systems that support the use of

19   recorded messages and en masse dialing, such as CallFire, Five9 and Ytel.

20           21.     Recipients of these outbound calls, including Plaintiff, did not consent to receive

21   them.

22           22.     Sunrun’s telemarketing calls were not necessitated by an emergency.

23           23.     Thousands of people have complained to the FCC or FTC about telemarketing by

24   Sunrun or its affiliates and vendors.

25           24.     According to Sunrun’s former employees, people who receive Sunrun’s

26   telemarketing are generally annoyed by it and don’t want to buy Sunrun’s products.

27           25.     Violating the TCPA is profitable for Sunrun.

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 1   C.     Defendant’ Unsolicited, Automated Telemarketing to Plaintiff
 2          26.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by
 3   47 U.S.C. § 153(39).
 4          27.     Plaintiff’s residential telephone number is (585) 414-XXXX.
 5          28.     That number has been on the National Do Not Call Registry for more than 30
 6   days prior to July 16, 2021 and it has not been removed from the Registry since that time.
 7          29.     Mrs. Chapman uses the number for personal, residential, and household reasons.
 8          30.     The number is not associated with any business.
 9          31.     Plaintiff Chapman never consented to receive calls from Sunrun.
10          32.     She never gave the Chapman Phone Number to Sunrun.
11          33.     She never did business with Sunrun.
12          34.     Sunrun called the Chapman Phone Number.
13          35.     Sunrun made telemarketing calls to the Chapman Phone Number.
14          36.     These calls were made on January 19, March 16 and March 24, 2022.
15          37.     All of the calls that were answered were made with a pre-recorded message that
16   promoted Sunrun’s solar services by name.
17          38.     In response to the January 19, 2022 call, in response to the prerecorded message,
18   Plaintiff pressed a number requesting not to be contacted. In spite of this request, the prercorded
19   calls continued on March 16, 2022 and March 24, 2022.
20          39.     The pre-recorded message mentioned solar panels and inquired about if the call
21   recipient owned a home.
22          40.     On March 24, 2022, the Plaintiff’s husband answered on Plaintiff’s phone a
23   recorded message, responded to the prerecorded prompts and was connected to live individual
24   named “Britney” at Sunrun on the March 24, 2022 call, who promoted Sunrun’s solar panel
25   services by name consistent with the pre-recorded message received. The ability to directly
26   transfer to a Sunrun employee by pressing a number in response to the prerecorded message
27   demonstrates that the call was either placed by Sunrun itself of by an agent of Sunrun that
28   Sunrun knew or should have known was placing illegal telemarketing calls on its behalf.
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 1
 2   D.      The Nuisance Created by Defendant’s Automated Telemarketing
 3           41.      Before directing their automated telemarketing to them, Defendant never did
 4   anything to confirm that Plaintiff had provided prior express written consent to their
 5   telemarketing, and Defendant knew or should have known that Plaintiff had not provided prior
 6   express written consent to receive telemarketing calls promoting Defendant’s goods or services
 7   and that illegal telemarketing was conducted on behalf of Defendant.
 8           42.      Plaintiff’s attention was caught by the fact that the calls appeared local.
 9           43.      The telemarketing alleged herein: (A) invaded Plaintiff’ privacy and solitude; (B)
10   wasted Plaintiff’ time; (C) annoyed Plaintiff; (D) tied up Plaintiff’s phone line; and (E) harassed
11   Plaintiff.
12                                 V.    CLASS ACTION ALLEGATIONS
13           44.      Cellular Telephone Class Definition: Pursuant to Federal Rules of Civil Procedure
14   23(b)(2) and (b)(3), Plaintiff bring this case on behalf of two classes (each a “Class,”
15   collectively, the “Classes”). The first Class (the “Cellular Telephone Class”) is defined as
16   follows: All persons in the United States to whom: (A) Defendant, any of them and/or a third
17   party acting on any of their behalf made a pre-recorded call; to a cellular telephone number; (B)
18   using an artificial or prerecorded voice; between September 26, 2020, and the first day of trial.
19           45.      DNC Class Definition: The second Class (the “DNC Class”) is defined as follows:
20   All persons in the United States to whom: (A) Defendant, any of them and/or a third party acting
21   on any of their behalf sent a telemarketing call; (B) to a residential (including residential cellular)
22   telephone number listed on the NDNCR for at least 31 days before at least two of such
23   communications in a 12-month period; (C) between September 26, 2020 and the first day of trial.
24           46.      Exclusions: Excluded from the Classes are Defendant, any entity in which
25   Defendant has a controlling interest or that has a controlling interest in Defendant, Defendant
26   legal representatives, assignees, and successors, the judges to whom this case is assigned and the
27   employees and immediate family members of all of the foregoing.
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 1          47.       Numerosity: The Classes are so numerous that joinder of all their members is
 2   impracticable.
 3          48.       Sunrun is among the largest solar energy companies in the United States.
 4          49.       Sunrun is publicly traded.
 5          50.       Commonality: There are many questions of law and fact common to Plaintiff and
 6   members of the Classes. Indeed, the very feature that makes Defendant’s conduct so annoying—
 7   its automated nature—makes this dispute amenable to classwide resolution. These common
 8   questions of law and fact include, but are not limited to, the following: (A) whether the calls
 9   were dialed en masse by a pre-recorded message; (B) whether Defendant’s desire to sell solar
10   goods and services constitutes an “emergency” within the meaning of the TCPA; (C) whether
11   Defendant had a pattern and practice of failing to obtain prior express written consent from
12   people to whom it directed telemarketing; (D) whether Defendant had a pattern and practice of
13   failing to remove numbers on the NDNCR from its telemarketing lists; and (E) whether
14   Defendant’s violations of the TCPA were knowing or willful.
15          51.       Typicality: Plaintiff’s claims are typical of the claims of the Classes. Plaintiff’
16   claims and those of the Classes arise out of the same course of conduct by Defendant and are
17   based on the same legal and remedial theories.
18          52.       Adequacy: Plaintiff will fairly and adequately protect the interests of the Classes.
19   Plaintiff have retained competent and capable counsel experienced in TCPA class action
20   litigation. Plaintiff and her counsel are committed to prosecuting this action vigorously on behalf
21   of the Classes and have the financial resources to do so. The interests of Plaintiff and their
22   counsel are aligned with those of the proposed Classes.
23          53.       Superiority: The common issues arising from this conduct that affect Plaintiff and
24   members of the Classes predominate over any individual issues, making a class action the
25   superior means of resolution. Adjudication of these common issues in a single action has
26   important advantages, including judicial economy, efficiency for Class members and classwide
27   res judicata for Defendant. Classwide relief is essential to compel Defendant to comply with the
28   TCPA. The interest of individual members of the Classes in individually controlling the
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 1   prosecution of separate claims against Defendant is small because the damages in an individual
 2   action (up to $1,500 per violation) are dwarfed by the cost of prosecution.
 3                              VI. FIRST CLAIM FOR RELIEF
     (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)—Robocalling)
 4
                        On Behalf of Plaintiff and the Cellular Telephone Class)
 5          54.     Plaintiff reallege and incorporate by reference each and every allegation set forth
 6   in the preceding paragraphs.
 7          55.     Defendant and/or its affiliates or agents violated the TCPA, 47 U.S.C. §
 8   227(b)(1), by placing non-emergency calls to the cellular telephone numbers of Plaintiff and
 9   members of the Cellular Telephone Class using an artificial or prerecorded voice without prior
10   express written consent.
11          56.     Plaintiff and members of that Class are entitled to an award of $500 in damages
12   for each such violation. 47 U.S.C. § 227(b)(3)(B).
13          57.     Plaintiff and members of that Class are entitled to an award of up to $1,500 in
14   damages for each such knowing and/or willful violation. 47 U.S.C. § 227(b)(3).
15          58.     Plaintiff and members of that Class are also entitled to and do seek an injunction
16   prohibiting Defendant and/or its affiliates and agents from violating the TCPA, 47 U.S.C. §
17   227(b)(1), by placing non-emergency calls to any cellular telephone number using an artificial or
18   prerecorded voice without prior express written consent of the receiving party.
19                            VII. SECOND CLAIM FOR RELIEF
20   (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(c)—Telemarketing)
                         On Behalf of Plaintiff Chapman and the DNC Class
21
            59.     Plaintiff Chapman realleges and incorporates by reference each and every
22
     allegation set forth in the preceding paragraphs.
23
            60.     Defendant and/or its affiliates or agents violated the TCPA, 47 U.S.C. § 227(c);
24
     47 C.F.R. § 64.1200(c)(2), by placing multiple unsolicited telemarketing calls within a 12-month
25
     period to the residential (including residential cellular) telephone numbers of Plaintiff Chapman
26
     and members of the DNC Class even though those numbers had been listed on the NDNCR for
27
     at least 31 days.
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 1          61.     Plaintiff Chapman and members of that Class seek an award of $500 in damages
 2   for each such violation. 47 U.S.C. § 227(c)(5)(B).
 3          62.     Plaintiff Chapman and members of that Class are entitled to and seek an award of
 4   up to $1,500 in damages for each such violation. 47 U.S.C. § 227(c)(5).
 5          63.     Plaintiff Chapman and members of that Class are also entitled to and do seek an
 6   injunction prohibiting Defendant and/or its affiliates and agents from violating the TCPA, 47
 7   U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls to any
 8   telephone numbers listed on the NDNCR for at least 31 days.
 9
10                                  VIII.       PRAYER FOR RELIEF
11          WHEREFORE, Plaintiff, on her own behalf and on behalf of all members of the Classes,
12   pray for judgment against Defendant as follows:
13          A.      Certification of the proposed Classes;
14          B.      Appointment of Plaintiff as representative of the Classes;
15          C.      Appointment of the undersigned counsel as counsel for the Classes;
16          D.      A declaration that actions complained of herein violate the TCPA;
17          E.      An order enjoining Defendant and its affiliates, agents and related entities from
18   engaging in the conduct set forth herein;
19          F.      An award to Plaintiff and the Classes of damages, as allowed by law;
20          G.      Leave to amend this Complaint to conform to the evidence presented at trial; and
21          H.      Orders granting such other and further relief as the Court deems necessary, just,
22   and proper.
23                                      IX.      DEMAND FOR JURY
24          Plaintiff demand a trial by jury for all issues so triable.
25                                 X.       SIGNATURE ATTESTATION
26          The CM/ECF user filing this paper attests that concurrence in its filing has been obtained
27   from each of its other signatories.
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 1   RESPECTFULLY SUBMITTED AND DATED this 10th day of May, 2022.
 2
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